Case o-Ly-foofy-laS Voc 44 Filed VUlfolicO Entered OlfolicO Leailyi4o

Fill in this information to identify your case:

 

OWweELL

Last Name

3

Middle Name

CHARLES

First Name

Debtor 1

Debtor 2
(Spouse, if filing} First Name Middle Name

United States Bankruptcy Court for the: Kas Tee District of / J z
Case number 19-712? 379 - las

(If known) bs ee

 

Last Name

 

22 °Q) Check if this is an
amended filing

 

 

Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7 i215

 

If you are an individual filing under chapter 7, you must fill out this form if:

m™ creditors have claims secured by your property, or

mM you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

Ea List Your Creditors Who Have Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
| information below.

Did you claim the property |
as exempt.on Schedule C? .

C1 No
Cl Yes

Identify the creditor andthe property that is-collateral What:do you intend to.do:with-the property that
secures a:debt?

Creditor’s
name:

CQ Surrender the property.

Chontes 4 Valeaie. Do well|
Description of S38lo Ber bh a D -

property

(] Retain the property and redeem it.
(J Retain the property and enter into a

 

 

 

 

 

 

 

 

 

 

+ . Reaffirmation Agreement.
Securing eo B al d wow NY | (iG [0 etain the property and [explain]: And
ce ints EsTaTé TRUST with reno Balan
Creditor's C) Surrender the property. C1 No
nen J Retain the property and redeem it. ves
reper of (J Retain the property and enter into a
securing debt: Reaffirmation Agreement.
L] Retain the property and [explain]:
Creditor's Qi Surrender the property. CI No
name... ae UO Retain the property and redeem it. ves
prone of O Retain the property and enter into a
securing debt: Reaffirmation Agreement.
() Retain the property and [explain]:
Creditor's () surrender the property. OI No
came CJ Retain the property and redeem it. (Yes
oropay of CQ) Retain the property and enter into a
securing debt: Reaffirmation Agreement.
(CJ Retain the property and [explain]:

 

 

Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7

page 1
Case o-Ly-foofy-laS Voc 44 Filed VUlfolicO Entered OlfolicO Leailyi4o

Debtor 4 CAAnLEs bs c Ps w E [/ Case number (if known). / g ~ 735 74 “ } Ay

First Name Middle Name Last Name

Era List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066),
i fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
| ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p){2).

 

 

 

 

 

 

 

 

 

 

 

 

 

Describe your unexpired personal.property leases : Will the lease be assumed?
Lessor’s name: CINo
ecnnnne ~~ Dyes
Description of leased
property:
Lessor’s name: CJ No
Oy
Description of leased “s
property:
Lessor’s name: CI No
Description of leased C] Yes
property:
Lessor’s name: CI No
CQ Yes
Description of leased
property:
Lessor's name: CL) No
Cl Yes
Description of leased
property:
Lessors name: CI No
QO) yes
Description of leased
property:
Lessors name: CI No
Q] Yes
Description of leased
property:

 

 

a Sign Below

Under penalty of perjury, | declare that ! have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

K Charlese Bt Powell x

 

 

Signature of Debtor 1 Signature of Debtor 2
Date © [ 620 Date
MM//DD / VY MM/ DD/ YYYY

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2
